JS-CAND 44 (Rev. 10/2020)               Case 5:24-mc-80189-PCP Document 1-4 Filed 07/30/24 Page 1 of 1
                                                                                  CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
  Sakura Miyawaki, Chae-won Kim, Jennifer Yunjin Huh, Kazuha Nakamura, E.C.H.

      (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.
      (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
       Eugene Kim of Stream Kim Hicks Wrage & Alfaro, PC.
       3403 Tenth Street, Suite 700, Riverside, CA 92501
       (951) 783-9470
II.        BASIS OF JURISDICTION (Place an X in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an X in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                          PTF        DEF                                      PTF       DEF
           U.S. Government Plaintiff      x3      Federal Question                                    Citizen of This State                 1         1      Incorporated or Principal Place      4       4
                                                  (U.S. Government Not a Party)
                                                                                                                                                             of Business In This State
                                                                                                      Citizen of Another State                2        2     Incorporated and Principal Place     5        5
      2    U.S. Government Defendant         4     Diversity                                                                                                 of Business In Another State
                                                 (Indicate Citizenship of Parties in Item III)
                                                                                                      Citizen or Subject of a                 3        3     Foreign Nation                       6        6
                                                                                                      Foreign Country

IV.          NATURE OF SUIT (Place an X in One Box Only)
             CONTRACT                                                  TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                     OTHER STATUTES                I
      110 Insurance                        PERSONAL INJURY                     PERSONAL INJURY                  625 Drug Related Seizure of         422 Appeal 28 USC § 158          375 False Claims Act
      120 Marine                                                                                                    Property 21 use § 881           423 Withdrawal 28 USC            376 Qui Tam (31 use
                                         310 Airplane                        365 Personal Injury- Product
      130Miller Act                                                              Liability                      690 Other                               § 157                             § 3729(a))
                                         315 Airplane Product Liability
      140 Negotiable Instrwnent                                              367 Health Care/                             LABOR                       PROPERTY RIGHTS                400 State Reapportionment
                                         320 Assault, Libel & Slander
      150 Recovery of                                                            Pharmaceutical Personal                                                                             41 0 Antitrust
                                         330 Federal Employers'                                                 710 Fair Labor Standards Act        820 Copyrights
          Overpayment Of                                                         Injury Product Liability                                                                            430 Banks and Banking
                                             Liability                                                          720 Labor/Management                830 Patent
          Veteran's Benefits                                                 368 Asbestos Personal Injury                                                                            450 Commerce
                                         340 Marine                                                                 Relations                       835 Patent-Abbreviated New
      151 Medicare Act                                                           Product Liability
                                         345 Marine Product Liability                                           740 Railway Labor Act                   Drug Application             460 Deportation
      152 Recovery of Defaulted                                              PERSONAL PROPERTY                                                                                       470 Racketeer Influenced &
                                         350 Motor Vehicle                                                      751 Family and Medical              840 Trademark
          Student Loans (Excludes                                            3 70 Other Fraud                                                                                            Corrupt Organizations
                                         355 Motor Vehicle Product                                                  Leave Act                       880 Defend Trade Secrets
          Veterans)                                                          371 Truth in Lending
                                             Liability                                                          790 Other Labor Litigation              Act of2016                   480 Consumer Credit
      153 Recovery of                                                        380 Other Personal Property
                                         360 Other Personal Injury                                              791 Employee Retirement                                              485 Telephone Consumer
          Overpayment                                                                                                                                SOCIAL SECURITY
                                                                                  Damage                            Income Security Act                                                  Protection Act
       of Veteran's Benefits             362 Personal Injury -Medical                                                                               861 HIA (1395ft)
                                             Malpractice                     385 Property Damage Product                                                                             490 Cable/Sat TV
      160 Stockholders' Suits                                                     Liability                           IMMIGRATION                   862 Black Lung (923)             850 Securities/Commodities/
      190 Other Contract                                                                                        462 Naturalization                  863 DIWC/DIWW (405(g))               Exchange
                                              CIVIL RIGHTS                   PRISONER PETITIONS
      195 Contract Product Liability                                                                                Application                     864 SSID Title XVI
                                         440 Other Civil Rights                                                                                                                    X 890 Other Statutory Actions
                                                                                HABEAS CORPUS                   465 Other Immigration
      196 Franchise                                                                                                                                 865 RSI (405(g))                 891 Agricultural Acts
                                         441 Voting                          463 Alien Detainee                     Actions
          REAL PROPERTY                  442 Employment                                                                                             FEDERAL TAX SUITS                893 Environmental Matters
                                                                             510 Motions to Vacate
      210 Land Condenmation              443 Housing/                            Sentence                                                           870 Taxes (U.S. Plaintiff or     895 Freedom oflnformation
                                             Accommodations                                                                                             Defendant)                       Act
      220 Foreclosure                                                        530 General
                                         445 Amer. w/Disabilities-                                                                                  871 IRS-Third Party 26 use       896 Arbitration
      230 Rent Lease & Ejectrnent                                            535 Death Penalty
                                             Employment                                                                                                  § 7609                      899 Administrative Procedure
      240 Torts to Land                                                                OTHER
                                         446 Amer. w/Disabilities-Other                                                                                                                  Act/Review or Appeal of
      245 Tort Product Liability                                             540 Mandamus & Other                                                                                        Agency Decision
      290 All Other Real Property        448 Education
                                                                             550 Civil Rights                                                                                        950 Constitutionality of State
                                                                             555 Prison Condition                                                                                        Statutes
                                                                             560 Civil Detainee-
                                                                                 Conditions of
                                                                                 Confinement

 V.          ORIGIN (Place an X in One Box Only)
X I Original                        2    Removed from              3      Remanded from           4   Reinstated or           5 Transferred from              6   Multidistrict          8 Multidistrict
          Proceeding                     State Court                      Appellate Court             Reopened                  Another District (specify)        Litigation-Transfer      Litigation-Direct File


 VI.         CAUSE OF Cite the U.S. Civil Statute under which vou are filinl! (Do not cite jurisdictional statutes unless diversity)
                       28 u.s.c. § 1782
             ACTION
                                 Brief descriotion of cause:
                                    Application to take discovery in aid of a civil matter in the Republic of Korea
 VII.        REQUESTED IN                    CHECK IF THIS IS A CLASS ACTION                          DEMAND$                                        CHECK YES only if demanded in complaint:
             COMPLAINT:                      UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes     X No

 VIII. RELATED CASE(S),                                    JUDGE                                                       DOCKET NUMBER
       IF ANY (See instructions):

IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an "X" in One Box Only)   SAN FRANCISCO/OAKLAND                                                                          x SANJOSE                          EUREKA-MCKINLEYVILLE


DATE            07/3012024                                 SIGNATURE OF ATTORNEY OF RECORD                                                 Isl Eugene Kim
